     Case 2:19-cv-08957-RGK-KS Document 22 Filed 10/02/20 Page 1 of 1 Page ID #:510




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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
      PAULINO RIOS-LEDESMA,                    ) NO. CV 19-8957-RGK (KS)
11                                             )
                          Petitioner,
12                                             )
                v.                             ) JUDGMENT
13                                             )
14                                             )
      MILUSNIC,                                )
15                                             )
                      Respondent.
16                                             )
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17
18          Pursuant to the Court’s Order Dismissing the Petition, IT IS ADJUDGED that this
19    action is dismissed without prejudice.
20
21    DATED: October 2, 2020
22                                                     ____________________
                                                              _______________ _________
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23                                                           R. GARY
                                                                  RY KLAUSNER
                                                                GAR
                                                       UNITED STATES DISTRICT JUDGE
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